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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

UNITED STATES OF AMERICA                               CASE NO. 3:17-cr-147-J-32PDB
v.
MIGUEL PACHECO-LOPEZ

Counsel for Government:                                Counsel for Defendant:
Arnold B. Corsmeier                                    Waffa Hanania

   HONORABLE TIMOTHY J. CORRIGAN, UNITED STATES DISTRICT JUDGE
Courtroom Deputy: Marielena Diaz        Court Reporter: Shannon Bishop


CLERK'S MINUTES
PROCEEDINGS OF: CRIMINAL STATUS CONFERENCE
TRIAL TIME (Estimated Number of Days):

      Government/Defendant requested a plea deadline.

      Plea agreement deadline set for

      This case will remain on the ___________ trial term.

 X    The defendant moved to continue trial.

      Government moves to continue trial.

 X    The government has no objection to the continuance.

 X    For the reasons stated on the record, the Court finds that the ends of justice served
      by the continuance outweigh the best interests of the public and the defendant in a
      speedy trial (18 U.S.C. §3161(h)(7)(A)), the Oral Motion to Continue Trial is
      GRANTED.

      CASE RESET

      Status:                            November 20, 2017 at 4:00 p.m.
      Trial Term Commencing:             December 4, 2017 at 9:00 a.m.




DATE: September 18, 2017          TIMES: 4:18 p.m. - 4:20 p.m. TOTAL: 2 Minutes
